                            UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF TEXAS



UNITED STATES OF AMERICA                        '
                                                '
V.                                              '         NO. 5:13CR13-1
                                                '
SHANNON GUESS RICHARDSON(1)                     '


                MOTION FOR REDUCTION OF SENTENCE PURSUANT
                            TO 18 U.S.C. ' 3582(c)(2)

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF TEXAS:

       COMES NOW Defendant, by and through defendant=s undersigned attorney, and files this,

the defendant=s Motion for Reduction of Sentence Pursuant to 18 U.S.C. ' 3582(c)(2), and would

show this Honorable Court as follows, to-wit:

                                                I.

                                   RELIEF REQUESTED

       Defendant's original guideline range was 188 months to 235 months, based on a total

offense level of 36, and a criminal history category I.   On, July 16, 2014, Defendant was

sentenced to 216 months imprisonment. With the application of the 2023 retroactive guideline

amendment, Defendant's total offence level would be 34, a criminal history category I and the

guideline range would be 151 months to 188 months.

       Defendant moves under 18 U.S.C. ' 3582(c)(2) for an order reducing the defendant=s term

of imprisonment from 216 months to 151 months, based on the retroactive amendment to the

sentencing guidelines.

       Defendant=s current proposed release date is November 18, 2028.
                                                II.

                                        JURISDICTION

       This Court has jurisdiction to modify the defendant=s sentence now under the plain

language of 18 U.S.C. '3582(c)(2) which provides:

       In the case of a defendant who has been sentenced to a term of imprisonment based
       on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. ' 994(o), upon motion of the defendant, the
       director of the Bureau of Prisons, or on its own motion, the court may reduce the
       term of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent they are applicable, if such a reduction is consistent with applicable
       policy statements issued by the Sentencing Commission.

The predicate conditions conferring jurisdiction are met in this case.   Defendant was sentenced

based on a sentencing range that was subsequently lowered by the Sentencing Commission       on

November 1, 2023.       See U.S.S.G. App. C, Amend. 821 .          The Sentencing Commission

promulgated a policy statement making the reduction retroactive.         Amendment 821 became

effective November 1, 2023.    See U.S.S.G ' 1 B 1.10.
                                             III.

                                      CONFERENCE

       The undersigned counsel has conferred with the United States Attorney's Office, and they

intend to file a written response.

                                             IV.

                                       CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, the defendant respectfully requests that this

Honorable Court grant the Motion for Reduction of Sentence Pursuant to 18 U.S.C. ' 3582(c)(2)

and reduce the Defendant=s sentence to 151 months.

                                           Respectfully submitted,

                                           /s/ Wayne R. Dickey
                                           WAYNE R. DICKEY
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                                           Texas Bar Number: 05832020
                                           Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of September, 2024, a true and correct copy of the
foregoing Defendant's MOTION TO REDUCE SENTENCE PURSUANT TO 18 U.S.C. '
3582(c)(2) was sent via CM/ECF:

       United States Attorney
       110 N. College, Suite 700
       Tyler, Texas 75702




                                           /s/ Wayne R. Dickey

                                           Attorney for Defendant
